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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                      )               BK No.:     22-06377
JEFFREY FOSTER                              )
                                            )               Chapter: 11
                                            )
                                                            Honorable A. Benjamin Goldgar
                                            )
                                            )
               Debtor(s)                    )

                 ORDER GRANTING MOTION TO APPROVE SETTLEMENT

       This matter coming to be heard on the motion of of Jeffrey Foster to approve a settlement with
PNC Bank, N.A., due notice having been given under the circumstances, and the court being fully
advised, IT IS HEREBY ORDERED:

  The motion is granted and the settlement approved. Notice of the motion is shortened for cause.




                                                         Enter:


                                                                  Honorable A. Benjamin Goldgar
Dated: April 17, 2023                                             United States Bankruptcy Judge

 Prepared by:
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